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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                               MINUTES OF PROCEEDINGS


NEWARK                                                            DATE: October 18, 2016

JUDGE: Susan D. Wigenton

COURT REPORTER: Carmen Liloia

DEPUTY CLERK: Carmen D. Soto

TITLE OF CASE:                                                    Docket No. 15-CR-569

UNITED STATES v. MARK ANDREOTTI

APPEARANCES:
Shana W. Chen, AUSA for the Govt
Charlie Divine, AUSA for the Govt
Kevin F. Carlucci, Esq. for Deft (AFPD)

NATURE OF PROCEEDING: ARRAIGNMENT ON SUPERSEDING INDICTMENT

Dft waived reading of the Indictment and plead Not Guilty to all counts of the Superseding
Indictment;
Continuance order signed.
Trial date to be set.


Time Commenced: 3:35 p.m.
Time Adjourned: 3:45 p.m.
Total time: 10 mins.

Cc: Chambers                                               Carmen D. Soto
                                                           Deputy Clerk
